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                      EXHIBIT C

                         Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

 -----------------------------------------------------------X
                                                            :
In re                                                       :       Chapter 11
                                                            :
Nortel Networks Inc., et al.,1                              :       Case No. 09-10138 (KG)
                                                            :
                                    Debtors.                :       Jointly Administered
                                                            :
                                                            :
    -----------------------------------------------------------X

                       NOTICE OF DEADLINE FOR THE FILING
            OF PROOFS OF CLAIM AGAINST NORTEL NETWORKS (CALA) INC.
                 (GENERAL NN CALA BAR DATE IS JANUARY 25, 2010)

PLEASE TAKE NOTICE THAT:

         The United States Bankruptcy Court for the District of Delaware (the “Court”) has
entered an Order (the “Bar Date Order”) establishing 4:00 p.m. (prevailing Eastern Time) on
January 25, 2010 (the “General NN CALA Bar Date”) as the last date for each person or entity
(including individuals, partnerships, corporations, joint ventures, trusts and governmental units)
to file a proof of claim against Nortel Networks (CALA) Inc. (“NN CALA”).2
        These procedures apply ONLY to NN CALA. A general bar date of September 30, 2009
has been established in these chapter 11 cases for Debtors other than NN CALA. Additionally,
several of Nortel Networks Inc.’s affiliates are subject to creditor protection proceedings in other
jurisdictions, including Canada. Separate proceedings and deadlines have been or will be
established in those cases for the filing of claims. With respect to the Canadian proceedings, a
general bar date of September 30, 2009 at 4:00 p.m. (prevailing Eastern Time) has been
established by the Canadian Court. If you believe you have claims against Nortel Networks
Corporation, Nortel Networks Limited, Nortel Networks Global Corporation, Nortel Networks
International Corporation or Nortel Networks Technology Corporation (the “Canadian
Debtors”), any such claims shall be filed in, and only in, the Canadian proceedings with the


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number,
are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769),
Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251),
CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical
Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel
Networks International Inc. (0358), Northern Telecom International Inc. (6286) and Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. Addresses for the Debtors can be found in the Debtors’
petitions, which are available at http://chapter11.epiqsystems.com/nortel.
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    F/k/a NN CALA (Case No. 09-12515, E.I.N. XX-XXXXXXX).

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court-appointed Monitor. Procedures for filing such claims can be found by going to the
following internet link: www.ey.com/ca/nortel.
        The General NN CALA Bar Date and the procedures set forth below for filing proofs of
claim apply only to all claims against NN CALA that arose on or prior to July 14, 2009 (the
“Petition Date”), the date on which NN CALA commenced its case under chapter 11 of the
United States Bankruptcy Code, except for those holders of the claims listed in Section 4 below
that are specifically excluded from the General NN CALA Bar Date filing requirement.

1.     WHO MUST FILE A PROOF OF CLAIM

        You MUST file a proof of claim to vote on a chapter 11 plan filed by NN CALA or to
share in distributions from NN CALA’s bankruptcy estate if you have a claim (as defined in
section 101(5) of the Bankruptcy Code) that arose prior to the Petition Date, and it is not one of
the types of claim described in Section 4 below. Claims based on acts or omissions of NN
CALA that occurred before the Petition Date must be filed so as to be actually received on or
prior to the General NN CALA Bar Date, even if such claims are not now fixed, liquidated or
certain or did not mature or become fixed, liquidated or certain before the Petition Date.
        Under section 101(5) of the Bankruptcy Code and as used in this Notice, the word
“claim” means: (a) a right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance
if such breach gives rise to a right to payment, whether or not such right to an equitable remedy
is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or
unsecured.

2.     WHAT TO FILE

         The Debtors are enclosing a proof of claim form for use in NN CALA’s case
(Attachment A); if your claim is scheduled by NN CALA, the form also sets forth the amount of
your claim as scheduled by NN CALA, the specific Debtor against which the claim is scheduled
and whether the claim is scheduled as disputed, contingent or unliquidated. You will receive a
different proof of claim form for each claim scheduled in your name by NN CALA. You may
utilize the proof of claim form(s) provided by NN CALA to file your claim. Additional proof of
claim forms may be obtained at www.uscourts.gov/bkforms.
       Section 503(b)(9) of the Bankruptcy Code provides administrative claim priority for “the
value of any goods received by the debtor within 20 days before the date of commencement of a
case under this title in which the goods have been sold to the debtor in the ordinary course of
such debtor’s business.” Any holder of a claim pursuant to Section 503(b)(9) must complete the
proof of claim form enclosed as Attachment B to indicate that a section 503(b)(9) priority is
being asserted.
       All proof of claim forms must be signed by the claimant or, if the claimant is not an
individual, by an authorized agent of the claimant. It must be written in English and be
denominated in United States currency. You should attach to your completed proof of claim any


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documents on which the claim is based (if voluminous, attach a summary) or an explanation as
to why the documents are not available.
3.     WHEN AND WHERE TO FILE

       Except as provided for herein, all proofs of claim against NN CALA must be filed so as
to be actually received at the following address on or before 4:00 p.m. (prevailing Eastern
Time) on January 25, 2010:

IF DELIVERED BY MAIL:                           IF DELIVERED BY HAND DELIVERY
                                                OR OVERNIGHT COURIER:
Nortel Networks Inc. Claims Processing          Nortel Networks Inc. Claims Processing
Center                                          Center
c/o Epiq Bankruptcy Solutions, LLC              c/o Epiq Bankruptcy Solutions, LLC
FDR Station, P.O. Box 5075                      757 Third Avenue, 3rd Floor
New York, NY 10150-5075                         New York, NY 10017

Proofs of claim will be deemed filed only when received by Epiq Bankruptcy Solutions, LLC
(the “Claims Agent”) at the addresses listed herein on or before 4:00 p.m. (prevailing Eastern
Time) on the General NN CALA Bar Date. Proofs of claim may not be delivered by facsimile,
telecopy or electronic mail transmission.

4.     WHO NEED NOT FILE A PROOF OF CLAIM

You do not need to file a proof of claim on or prior to the General NN CALA Bar Date if you
are:

       (a)     Any Entity that has already filed a proof of claim against NN CALA with the
               Clerk of the Bankruptcy Court for the District of Delaware or the Claims Agent in
               a form substantially similar to Official Form No. 10 and/or the 503(b)(9) Claim
               Form;
       (b)     Any person or entity whose claim is listed on the Schedules filed by NN CALA,
               provided that (i) the claim is not scheduled as “disputed,” “contingent” or
               “unliquidated”; and (ii) the claimant does not disagree with the amount, nature
               and priority of the claim as set forth in the Schedules; and (iii) the claimant does
               not dispute that the claim is an obligation of the specific Debtor against which the
               claim is listed in the Schedules;
       (c)     Any holder of a claim against NN CALA that heretofore has been allowed by
               order of this Court;




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       (d)     Any person or entity whose claim against NN CALA has been paid in full by NN
               CALA pursuant to an order of this Court;
       (e)     Any holder of a claim against NN CALA for which specific deadlines have
               previously been fixed by this Court;
       (f)     Any Debtor, nondebtor affiliate of the Debtors or Canadian Debtors, or any of
               their direct or indirect subsidiaries holding a claim against NN CALA;
       (g)     Any Entity having a claim against any of the nondebtor affiliates or subsidiaries
               of the Debtors;
       (h)     Any holder of a claim against NN CALA allowable under section 503(b) and
               section 507(a)(2) of the Bankruptcy Code as an expense of administration (other
               than any claim allowable under Section 503(b)(9) of the Bankruptcy Code,
               holders of which shall be required to file a proof of claim pursuant to the
               503(b)(9) Procedures Order);
       (i)     Any claims of officers and/or directors, who are officers and/or directors as of
               August 1, 2009, for indemnification and/or contribution arising from such
               officer’s and/or director’s service to NN CALA or any of NN CALA’s non-debtor
               affiliates; provided, however, that such officers and/or directors must file proofs
               of claims so as to be actually received by the applicable Bar Date for all other
               claims arising before the Petition Date against NN CALA; and
       (j)     Holders of equity security interests in NN CALA need not file proofs of interest
               with respect to the ownership of such equity interests, provided, however, that if
               any such holder asserts a claim against NN CALA that arises out of or relates to
               the ownership (including a claim relating to the purchase or sale) of such equity
               interest, a proof of such claim must be filed on or prior to the General Bar Date.
       This Notice is being sent to many persons and entities that have had some relationship
with or have done business with the Debtors but may not have an unpaid claim against NN
CALA. The fact that you have received this Notice does not mean that you have a claim or that
NN CALA or the Court believes that you have a claim against NN CALA.

5.     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        If you have a claim arising out of the rejection of an executory contract or unexpired
lease by NN CALA as to which the order and/or notice authorizing such rejection is dated on or
before [date of order establishing bar dates], you must file a proof of claim by the General NN
CALA Bar Date. If you have a claim arising from the rejection of an executory contract or
unexpired lease by the Debtors as to which the order is dated after [date of order establishing
bar dates], you must file a proof of claim with respect to such claim within 30 days of the date
the Debtors send to you, via first class U.S. mail, a notice or a copy of the applicable order
authorizing such rejection.




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6.     CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE
       GENERAL NN CALA BAR DATE

     ANY PERSON OR ENTITY (EXCEPT A PERSON OR ENTITY WHO IS
EXCUSED AS SET FORTH IN SECTION 4 ABOVE) WHO FAILS TO FILE A PROOF
OF CLAIM ON OR BEFORE THE BAR DATE SHALL BE FOREVER BARRED AND
ESTOPPED FROM (1) ASSERTING SUCH CLAIM AGAINST NN CALA AND ITS
CHAPTER 11 ESTATE AND (2) VOTING UPON, OR RECEIVING DISTRIBUTIONS
UNDER, ANY PLAN OR PLANS OF REORGANIZATION OR LIQUIDATION IN ITS
CHAPTER 11 CASE IN RESPECT OF SUCH CLAIM.

7.     THE DEBTORS’ SCHEDULES AND ACCESS THERETO

       You may be listed as the holder of a claim against NN CALA in the NN CALA’s
Schedules of Assets and Liabilities and/or Schedules of Executory Contracts and Unexpired
Leases (collectively, the “Schedules”).

        If you rely on NN CALA’s Schedules, it is your responsibility to determine that the claim
is accurately listed in the Schedules.
        As set forth above, if you agree with the nature, amount and status of your claim as listed
in NN CALA’s Schedules, and if you do not dispute that your claim is only against NN CALA,
and if your claim is not described as “disputed,” “contingent,” or “unliquidated,” you need not
file a proof of claim. Otherwise, or if you decide to file a proof of claim, you must do so before
the General NN CALA Bar Date in accordance with the procedures set forth in this Notice.
        Copies of the Schedules may also be examined between the hours of 8:00 a.m. and 4:00
p.m., Monday through Friday at the Clerk’s Office, 824 North Market Street, 3rd Floor,
Wilmington, Delaware 19801. Copies of the Schedules may also be obtained by written request
to the Claims Agent at the following address and telephone number: Nortel Networks Inc.
Claims Processing Center, c/o Epiq Bankruptcy Solutions, LLC, 757 Third Avenue, 3rd Floor,
New York, NY 10017, (646) 282-2500. Copies of the Schedules also are available for inspection
on the independent restructuring website maintained by the Claims Agent at
http://chapter11.epiqsystems.com/nortel.

        Copies of the Bar Date Order and proof of claim forms may be obtained from the
independent      restructuring  website     maintained    by    the   Claims    Agent     at
http://chapter11.epiqsystems.com/nortel, or by contacting the Claims Agent at the following
address and telephone number: Nortel Networks Inc. Claims Processing Center, c/o Epiq
Bankruptcy Solutions, LLC, 757 Third Avenue, 3rd Floor, New York, NY 10017, (646) 282-
2500.
     A HOLDER OF A POSSIBLE CLAIM AGAINST NN CALA SHOULD CONSULT
AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY THIS NOTICE,
SUCH AS WHETHER THE HOLDER SHOULD FILE A PROOF OF CLAIM.

BY ORDER OF THE HONORABLE KEVIN GROSS
UNITED STATES BANKRUPTCY JUDGE

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Dated: Wilmington, Delaware
December __, 2009

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